                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   No. 13 CR 844
       v.
                                                   Judge Andrea R. Wood
 HOWARD LEVENTHAL

         GOVERNMENT’S SUPPLEMENT TO MOTION TO RECONSIDER
             EARLY TERMINATION OF SUPERVISED RELEASE

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby submits a

supplement to its motion to reconsider this Court’s December 3, 2020 order granting

defendant Howard Leventhal’s second motion for early termination of his supervised

release, for the following reasons.

      In two recent telephonic status conference calls Howard Leventhal has gone to

great lengths to promise this Court that if his supervised release is reinstated and

the charges of cyberstalking against him in Wisconsin are dismissed he will turn over

a new leaf by stopping all harassment of his former wife and other persons such as

those he has sued in meritless lawsuits, including the one filed in the Circuit Court

of Cook County on December 15, 2020. See Dkt. 42 Ex. A (Leventhal’s Cook County

Lawsuit). Mr. Leventhal repeatedly swore to this Court that he has seen the error of

his ways, has realized that he needs mental health treatment, and will stop the

conduct that led to the filing of the motion to reinstate his supervised release.

      That, however, is clearly false. The government was advised today by Steve

Zissou, Leventhal’s former CJA-appointed defense attorney in his Brooklyn federal
prosecution, that Leventhal created at least two websites that are filled with false

information about that attorney and his partner, Sally Butler, both of whom were

named as defendants in Leventhal’s December 15, 2020 frivolous lawsuit. Id. Those

websites are immediately available to anyone who searches for Mr. Zissou’s name

and/or practice on the two most commonly used search engines, Google and

DuckDuckGo.com. This conduct is evidence of Leventhal’s bad faith and false

promises.

      IV.    Conclusion

      For the foregoing reasons, the government again respectfully requests this

Court to reconsider its December 3, 2020 order and to reinstate defendant Leventhal’s

supervised release.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, JR.
                                             United States Attorney

                                       By:   /s/ William R. Hogan, Jr.
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